Case: 1:17-md-02804-DAP Doc #: 3470-3 Filed: 09/15/20 1 of 3. PageID #: 500880




                  EXHIBIT 3
      Case: 1:17-md-02804-DAP Doc #: 3470-3 Filed: 09/15/20 2 of 3. PageID #: 500881

   IRPINO
    AVIN
HAWKINS               LAWFIRM




                                              March 14, 2019


     VIA ELECTRONIC MAIL
     Sharon Desh (sharon.desh@bartlitbeck.com)


            Re:     IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION
                    MDL No. 2804
                    PEC’s Challenges to Walgreens’ Privilege Claims


     Dear Sharon:

            I write this letter on behalf of the Plaintiffs’ Executive Committee (“PEC”). The PEC
     hereby requests that Walgreens respond to the following questions, requests and challenges.


     Amended Discovery Ruling 14, Part 1

             Pursuant to Amended Discovery Ruling 14, Part 1 (Doc. #: 1380) (“Amended Ruling),
     Walgreens has waived any claims of privilege over all twenty-seven documents listed on
     Walgreens’ 7/3/2018 privilege log. Moreover, on 3/12/2019 the Court overruled all of Walgreens’
     objections to the Amended Ruling. See Doc. #: 1428. Accordingly, these twenty-seven documents
     should be produced to the PEC before the end of this week – particularly since these documents
     are relatively small in number and have already been provided to Special Master Cohen. Please
     advise regarding the status of production, including when and with which volume they have been
     or will be produced, as well as the bates numbers for any such documents previously withheld in
     their entirety.


     PEC’s 1/20/2019 & 2/18/2019 Challenges to Walgreens’ Privilege Claims

             On January 20, 2019 and February 18, 2019, the PEC served Walgreens with separate
     rounds of sample challenges to Walgreens’ SOMS-related privilege claims. As advised
     previously, these 1/20/2019 & 2/18/219 sample privilege claims (challenged by the PEC) appear
     to be SOMS-related, and fall under Judge Polster’s 11/21/2018 order (Doc. 1147). Please also
     note that, as previously advised, we took into consideration Special Master Cohen’s follow-up
     interpretations/directives regarding Judge Polster’s 11/21/2018 order, which include that privilege
     claims relating to SOMS are “dicey” and should be viewed “extremely narrowly”. The PEC
     previously asked Walgreens to advise if it disputed whether these privilege claims are SOMS-
     related, and if so, to identify which specific privilege claims are not so related, and provide your

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    Case: 1:17-md-02804-DAP Doc #: 3470-3 Filed: 09/15/20 3 of 3. PageID #: 500882


   specific basis and reasoning for same. We also asked Walgreens if it was willing to downgrade or
   modify any of the privilege claims which were challenged by the PEC on 1/20/2019 and 2/18/2019.

          We received your letters of 1/29/2019 and 2/18/2019 advising of the downgrades made by
   Walgreens. We have not received anything further from Walgreens, so we will provide another
   round of sample challenges to Special Master Cohen for determination based upon the remaining
   challenges. The PEC will be putting this on the agenda for next week’s discovery teleconference,
   however, we will submit our motion for in camera review in the same manner as with our
   12/18/2018 motion. If you have any other information to provide consistent with the above or
   which you believe is important to consider, please advise in advance of next week’s discovery
   teleconference so that we can narrow claims and challenges.


   PEC’s Next Round of Sample Privilege Challenges

           The PEC hereby provides Walgreens with our next round of sample challenges to
   Walgreens’ privilege claims. As with prior challenges, these are being provided by way of the
   attached spreadsheet – which lists the privilege claims being challenged (incorporating the
   information from Walgreens privilege log) as well as example bases for the PEC’s challenges
   thereto. Please advise if Walgreens is willing to downgrade or modify any of the attached privilege
   claims which are challenged by the PEC, and/or if you have any other information to provide.
   Finally, if you would like to discuss any of the matters addressed in this letter, or any other
   privilege-related matters, please let us know.


                                                        Sincerely,

                                                        /s/ Anthony Irpino

                                                        Anthony D. Irpino

   ADI/bz

   cc: (via e-mail)
   Katherine Swift
   Kaspar Stoffelmayr
   Jeff Gaddy
   Hunter Shkolnik
   Salvatore Badala
   Laura Dunning
   Peter Mougey
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